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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.

  UNITED STATES OF AMERICA,
  THE STATE OF COLORADO, and
  THE STATE OF TEXAS,
  ex rel. KRYSTIN BUTLER,
  Plaintiffs,

  v.

  MICHAEL KEITH CHISM II,
  MILE HIGH PSYCHIATRY LLC,
  Defendants.


                        QUI TAM COMPLAINT AND JURY DEMAND


         The Relator, Krystin Butler, by and through her counsel, acting as a Relator on behalf of

  the United States of America, the State of Colorado and the State of Texas states the following

  Complaint against the Defendants:

                                      I.    INTRODUCTION

         1.      This lawsuit is brought pursuant to the provisions of the federal False Claim Act

  [“FCA”], 31 U.S.C. § 3729, et. seq., the Colorado Medicaid False Claims Act, C.R.S. § 25.5-4-

  303.5, et. seq. and the Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code § 36.001, et.

  seq. to recover monies which the United States, the State of Colorado and the State of Texas paid

  and/or did not recover because of the actions of the Defendants.

         2.      This qui tam suit arises out of illegal schemes by Defendants to knowingly

  submit, or cause to be submitted, false claims or statements to certain government healthcare

  programs regarding the alleged provision of mental healthcare services.
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         3.      This action alleges that the Defendants submitted false and inflated billings for the

  provision of mental health care by nurse practitioners. The scheme involved billing for CPT

  codes where the explicit requirements of the given CPT code had not been satisfied. The

  Defendants also upcoded the evaluation and management (“E/M”) codes several levels. As is

  explained in detail in the complaint, where an appropriate E/M code should have been a level 2

  (99212) or level 3 (99213), the Defendants were billing for level 4 (99214) or level 5 (99215).

         4.      This action also alleges that the Defendants caused their nurse practitioners to

  unnecessarily and unreasonably prescribe and maintain the prescription of controlled substances,

  many of which were contraindicated in the prescribed combinations. A significant component of

  the Defendants’ business model was to draw in a large number of patients who were dependent

  upon drugs and to maintain those individuals as patients by unnecessarily and unreasonably

  providing them with inappropriate combinations and levels of highly addictive drugs.

         5.      The principal events at issue transpired in the time period of approximately

  January 1, 2017 to the present and are believed to be ongoing.

                                          II.     PARTIES

         6.      Relator Krystin Butler (“Butler”) is a resident of Aurora, Colorado.

         7.      The Defendant Michael Keith Chism II (“Chism”) is an adult resident of the State

  of Colorado residing at 17667 E. Kettle Place, Centennial Colorado.

         8.      The Defendant Mile High Psychiatry LLC (“MHP”) is a Colorado limited liability

  company owned and controlled by Chism that maintains its principal place of business at 14221

  East 4th Avenue, Suite 2-126, Aurora CO 80111.

         9.      MHP also maintains an office in Texas located at 4545 Post Oak Place, Suite 110,

  Houston, TX.



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          10.    MHP also offers the services of its Colorado based nurse practitioners via

  telehealth in Texas as evidenced by the Psychology Today online advertisement found via this

  link: https://www.psychologytoday.com/us/psychiatrists/medicaid/tx/houston/bunker-hill.

  Nurse practitioners Ashley Burns, Precious Barnes, Kelly Kilcrease, Sonata Poon, Kristen Wille,

  and Shawn Howard identified in this advertisement are employed by MHP and are based in

  Colorado.

                              III.    JURISDICTION AND VENUE

          11.    This action is brought on behalf of the United States Government under 31 U.S.C.

  § 3729, et seq., the FCA. Butler brings this action under 31 U.S.C. § 3730(b) to recover for

  “false claims” which the Defendants knowingly presented, or caused to be presented, to the

  Government and/or concealed, or caused to be concealed, from the Government in violation of

  31 U.S.C. § 3729(1)(A)-(B), (G) as amended May 20, 2009. This Court has jurisdiction over the

  claims presented in this action pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1367 and 31 U.S.C. §

  3732.

          12.    In personam jurisdiction is appropriate in this district because the FCA provides

  for nationwide service of process. 31 U.S.C. § 3732(a). In such circumstances, the relevant

  inquiry is whether a given defendant has sufficient contacts with the United States as a whole.

  Appl. To Enforce Admin. Subp. of S.E.C. v. Knowles, 87 F.3d 413, 417-419 (10th Cir. 1996).

  The Defendants have significant presence in Colorado and have abundant national contacts.

          13.    Venue is proper in this district pursuant to 31 U.S.C. § 3732(a) because the

  Defendants can be found or transact business in this district and/or because one or more of the

  acts proscribed by the False Claims Act occurred within this district.




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                                IV.     THE FALSE CLAIMS ACTS

         A. The federal False Claims Act:

         14.     The False Claims Act (“FCA”) is the federal government’s primary tool to

  recover losses due to fraud and abuse by those seeking payment from the United States. See S.

  Rep. No. 345, 99 Cong., 2nd Sess. at 2 (1986) reprinted in 1986 U.S.C.C.A.N 5266.

         15.     The FCA was originally enacted in 1863, and was substantially amended in 1986

  by the False Claims Amendments Act, Pub.L. 99-562, 100 Stat. 3153 and in 2009, and 2010, to

  enhance the ability of the Government to recover losses it sustained as the result of its payment

  of false claims.

         16.     The FCA provides in pertinent part that any person who:

                 (A) knowingly presents, or causes to be presented, to an officer or employee of

         the United States Government or a member of the Armed Forces of the United States a

         false or fraudulent claim for payment or approval; [or]

                 (B) knowingly makes, uses, or causes to be made or used, a false record or

         statement to get a false or fraudulent claim paid or approved by the Government; [or]

                 (G) knowingly makes, uses, or causes to be made or used, a false record or

         statement material to an obligation to pay or transmit money or property to the

         Government, or knowingly conceals or knowingly and improperly avoids or decreases an

         obligation to pay or transmit money or property to the Government;

  is liable to the United States Government for a civil penalty of not less than $5,500 and not more

  than $11,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990, plus 3

  times the amount of damages which the Government sustains because of the act of that person.

  See also 28 C.F.R. § 85.3(a)(9) (setting forth the current civil penalties level of not less than



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  $5,500 and not more than $11,000 for violations of the FCA). For violations occurring on or

  after November 2, 2015, and for a penalty assessed after June 19, 2020 the civil penalty amounts

  range from a minimum of $11,665 to a maximum of $22,331. 28 C.F.R. § 85.5.

         17.     The terms “knowing” and “knowingly,” which comprise the FCA’s scienter

  element, are defined at 31 U.S.C. § 3729(b)(1)(A) to mean a person who, with respect to relevant

  information:

            (i) has actual knowledge of the information;

            (ii) acts in deliberate ignorance of the truth or falsity of the information; or

            (iii) acts in reckless disregard of the truth or falsity of the information.

  No proof of specific intent to defraud is required. 31 U.S.C. § 3729(b)(1)(B).

         18.     The FCA also broadly defines a “claim” as one that includes “any request or

  demand, whether under a contract or otherwise, for money or property and whether or not the

  United States has title to the money or property, that—(i) is presented to an officer, employee, or

  agent of the United States; or (ii) is made to a contractor, grantee, or other recipient, if the money

  or property is to be spent or used on the Government’s behalf or to advance a Government

  program or interest, and if the United States Government—(i) provides or has provided any

  portion of the money or property requested or demanded; or (ii) will reimburse such contractor,

  grantee, or other recipient for any portion of the money or property which is requested or

  demanded.” 31 U.S.C. § 3729(b)(2)(A).

         19.     The FCA empowers private persons having information regarding a false or

  fraudulent claim against the government to bring an action on behalf of the government and to

  share in any recovery.




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         20.     The FCA defines “material” to mean “having a natural tendency to influence, or

  be capable of influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).

         B. The Colorado Medicaid False Claims Act:

         21.     Colorado’s false claims act is largely patterned after the federal FCA.

         22.     Like the federal FCA, the Colorado Medicaid False Claims Act imposes liability

  on any person who “[k]nowingly presents, or causes to be presented, a false or fraudulent claim

  for payment or approval;” “[k]nowingly makes, uses, or causes to be made or used a false record

  or statement material to a false or fraudulent claim;” or who “[k]nowingly makes, uses, or causes

  to be made or used, a false record or statement material to an obligation to pay or transmit money

  or property to the state in connection with the ‘Colorado Medical Assistance Act,’ or knowingly

  conceals or knowingly and improperly avoids or decreases an obligation to pay or transmit

  money or property to the state in connection with the ‘Colorado Medical Assistance Act.’” Colo.

  Rev. Stat. 25.5-4-305(1)(a)-(b), (f).

         23.     The Colorado Medicaid False Claims Act provides for treble damages and

  penalties consistent with the federal FCA and requires complaints to be filed under seal without

  service on the defendants. Colo. Rev. Stat. 25.5-4-305(1) and 25.5-4-306(2)(b).

         C. The Texas Medicaid Fraud Prevention Act:

         24.     Texas’ false claims is also patterned after the federal FCA.

         25.     Like the federal FCA, the Texas Medicaid Fraud Prevention Act imposes liability

  on any person who “knowingly makes or causes to be made a false statement or

  misrepresentation of a material fact to permit a person to receive a benefit or payment under the

  Medicaid program that is not authorized or that is greater than the benefit or payment that is

  authorized;” “knowingly conceals or fails to disclose information that permits a person to



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  receive a benefit or payment under the Medicaid program that is not authorized or that is greater

  than the benefit or payment that is authorized;” “makes a claim under the Medicaid program and

  knowingly fails to indicate the type of license and the identification number of the licensed

  health care provider who actually provided the service;” or “knowingly makes, uses, or causes

  the making or use of a false record or statement material to an obligation to pay or transmit

  money or property to this state under the Medicaid program, or knowingly conceals or

  knowingly and improperly avoids or decreases an obligation to pay or transmit money or

  property to this state under the Medicaid program.” Tex. Hum. Res. Code § 36.002.

         26.     The Texas FCA also provides for treble damages and penalties consistent with the

  federal FCA and requires complaints to be filed under seal without service on the defendants.

  Tex. Hum. Res. Code § 36.052, § 36.102.

   V.     THE GOVERNMENT HEALTHCARE PROGRAMS AND THE PROVISION OF
           MENTAL HEALTHCARE SERVICES BY NURSE PRACTITIONERS

         27.     Government Healthcare Programs or GHPs refers to healthcare programs paid for,

  in whole or in part, by federal or state funds. They include:

            A. The Medicare Part B program and its provision of mental healthcare services
               by nurse practitioners:

         28.     In 1965, Congress enacted Title XVIII of the Social Security Act, known as the

  Medicare program, to pay for the costs of certain healthcare services. Entitlement to Medicare is

  based on age, disability, or affliction with end-stage renal disease. 42 U.S.C. §§ 426, 426-1,

  426A. Medicare is a 100% federally subsidized health insurance system.

         29.     The Department of Health and Human Services (“HHS”) is responsible for the

  administration and supervision of the Medicare program. The Centers for Medicare and




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  Medicaid Services (CMS) is part of HHS and is directly responsible for the administration of the

  Medicare program.

         30.     CMS’ payment and audit functions under the Medicare program are contracted

  out to insurance companies known as Medicare Administrative Contractors (“MAC’s”). MAC’s

  determine payment amounts due the providers under Medicare law and under interpretive

  guidelines published by CMS. See, 42 U.S.C. §1395h, 42 C.F.R. §§413.20(b) and 413.24(b).

         31.     Federal regulations impose a duty on a provider of services, such as MHP, to

  refund to the Government any funds the provider receives to which it is not entitled. Such

  overpayment must be reported and returned within 60 days after the date on which the

  overpayment is identified or the date any corresponding cost report is due. Any overpayment

  retained by a provider after the deadline for reporting and returning it is an “obligation” as

  defined by the FCA. 42 U.S.C. § 1320a-7k(d).

         32.     Statutory interest must be paid with respect to improperly retained overpayments.

  42 U.S.C. § 1395ddd(f).

         33.     Individuals who are insured under Medicare are referred to as Medicare

  “beneficiaries.”

         34.     The Medicare program consists of four parts: A, B, C, and D. Medicare Part B

  (Medical Insurance) helps pay for medically necessary services.

         35.     Counseling and therapy are mental health services covered by Medicare Part B.

  This includes visits with health care providers, including nurse practitioners, who accept

  assignment.




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         36.     For such mental health services, Medicare pays 80 percent of the Medicare

  approved amount and the Medicare beneficiary pays 20 percent of the Medicare approved

  amount, the Part B deductible and coinsurance costs.

         37.     In order for a nurse practitioner (“NP”) to be qualified to provide mental health

  services under Medicare, the NP must possess a master’s degree in nursing, be a registered

  professional nurse (“RN”) who is authorized by the State in which the services are furnished to

  practice as a nurse practitioner in accordance with State law and be certified as a nurse

  practitioner by a recognized national certifying body that has established standards for nurse

  practitioners. Medicare Benefit Policy Manual, Chapter 15, § 200(A).

         38.     In order for the NP’s mental health services to be covered by Medicare Part B, all

  of the following conditions must be met:

                 a. The services are the type that are considered physician’s services if furnished

                     by a doctor of medicine or osteopathy (MD/DO);

                 b. The services are performed by a person who meets Medicare’s definition of a

                     qualifying NP;

                 c. The NP is legally authorized to perform the services in the State in which they

                     are performed;

                 d. They are performed in collaboration with an MD/DO; and

                 e. The services are not otherwise precluded from coverage because of one of the

                     statutory exclusions.

                     Id., § 200(B)(1).

         39.     Collaboration is a process in which an NP works with one or more physicians

  (MD/DO) to deliver health care services, with medical direction and appropriate supervision as



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   required by the law of the State in which the services are furnished. In the absence of State law

   governing collaboration, collaboration is to be evidenced by NPs documenting their scope of

   practice and indicating the relationships that they have with physicians to deal with issues

   outside their scope of practice. The collaborating physician does not need to be present with the

   NP when the services are furnished or to make an independent evaluation of each patient who is

   seen by the NP. Id., § 200(D).

          40.     In order for a Medicare provided service to be reasonable and necessary, the

   service must be safe and effective; not experimental or investigational, and appropriate in terms

   of whether it is furnished in accordance with accepted standards of medical practice; furnished in

   a setting appropriate for the patient’s medical needs and condition; ordered and furnished by

   qualified personnel; meets but does not exceed the patient’s medical need; and is at least as

   beneficial as an existing and available medically appropriate alternative. See, CMS Pub. 100-08,

   Medicare Program Integrity Manual, Chapter 13, § 13.5.4.

          41.     The NP’s provision of mental health services are paid on an assignment basis and

   at 85% of the amount a physician gets under Medicare’s physician fee schedule. Medicare

   Claims Processing Manual, Chapter 12, § 120(A), 120.3(B).

          42.     Assignment means the provider gets the Medicare allowed amount as payment in

   full for the provider’s services and may not bill or collect from the patient any amount other than

   unmet copayments, deductibles and/or coinsurance.

          43.     NPs must have their own “Nonphysician practitioner” national provider

   identification (NPI) number for Medicare billing purposes. Medicare Claims Processing

   Manual, Chapter 12, § 120.3 (A).




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             B. Colorado Medicaid and its provision of mental health services by NPs:

          44.     The Social Security Act provides entitlement to medical services for individuals

   who meet eligibility requirements. Title XVIII governs the Medicare Program. Title XIX

   establishes the State Option Medical Assistance Program, also known as Health First Colorado.

   The Colorado Medical Assistance Act, C.R.S. 25.5.-4-101, provides the legal authority for the

   Health First Colorado Program.

          45.     The Health First Colorado program is a state and federal partnership funded by

   the State of Colorado and federal matching dollars. State funds are appropriated through the

   Colorado Legislature. Federal funding is dependent upon compliance with federal guidelines.

          46.     By statute, Health First Colorado pays for covered health care benefits for eligible

   members. The Health First Colorado program is an entitlement program, which means that any

   person who meets the eligibility criteria is entitled to receive any medically necessary service

   covered by the program.

          47.     To perform Health First Colorado benefit services and to receive Health First

   Colorado payments, providers must enroll in Health First Colorado. Enrolled providers must

   have and maintain licensure and certification required by Health First Colorado regulations. All

   providers are assigned a Health First Colorado provider number. The provider’s NPI must be

   used to submit claims.

          48.     Health First Colorado requires that the billing provider enter the NPI of the

   provider who actually performed or rendered the billed service to the Health First Colorado

   member. Health First Colorado Outpatient Behavioral Health Fee-for-Service Manual, p. 24.

   See, www.Colorado.gov/pacific/hcpf/behavioral-health-ffs-manual.




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          49.     Health First Colorado provides Outpatient Behavioral Health services defined as a

   group of services designed to provide medically necessary behavioral health services to certain

   Health First Colorado members in order to restore these individuals to their highest possible

   functioning level. Behavioral Health is split into two benefit categories: (1) Mental Health

   Services, and (2) Substance Use Disorder (SUD) services. Health First Colorado Outpatient

   Behavioral Health Fee-for-Service Manual, p. 3.

          50.     For the provision of mental health services, eligible providers include masters

   level clinicians which includes advanced practice nurses. Id.

          51.     The term “advanced practice nurse” includes nurse practitioners or NPs.

          52.     Per C.R.S. § 12-255-104(1), an “advanced practice registered nurse” is a

   registered professional nurse who is licensed to practice in accordance with the Nurse and Nurse

   Aide Practice Act, who obtains specialized education or trainings as provided in section 12-255-

   111 and who applies to and is accepted by the state board of nursing for inclusion in the

   advanced practice registry established pursuant to section 12-255-111.

          53.     C.R.S. § 12-255-111 provides for the establishment of an advanced practice

   registry, directs the board of nursing to establish reasonable criteria for designation of specific

   role and population foci based on currently accepted professional standards, and provides that a

   registered professional nurse who is included in the advanced practice registry has the right to

   use certain titles, if authorized by the board of nursing, including the title of “nurse practitioner”

   or “N.P.”

          54.     The Nursing Rules and Regulations promulgated by the Board of Nursing, found

   at 3 CCR 716-1, in § 1.14(C)(2) state that an Advanced Practice Registered Nurse (APRN) is a

   master’s prepared nurse holding a graduate degree in advanced practice registered nursing who



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   has completed a graduate or post-graduate program of study in an advanced role and/or

   population focus, in an accredited advanced practice registered nursing program and has been

   recognized and included on the Advanced Practice Registry by the nursing board. APRN roles

   recognized by the nursing board are nurse practitioner (NP), certified registered nurse anesthetist

   (CRNA), certified nurse midwife (CNM) and clinical nurse specialist (CNS).

          55.     Health First Colorado’s regulations regarding Physician Services, found at 10

   CCR 2505-10 8.200, specifically § 8.200.2.B, provide that Advanced Practice Nurses may

   provide and order covered goods and services in accordance with their scope of practice without

   a physician order.

          56.     Health First Colorado uses CMS’s Healthcare Common Procedural Coding

   System (HCPCS) to identify services provided to Health First Colorado members. The HCPCS

   includes codes identified in the Physician’s Current Procedural Terminology (CPT) and codes

   developed by CMS.

          57.     The codes used for submitting claims for mental health services provided to

   Health First Colorado members represent services that are approved by CMS and that may be

   provided by an enrolled Health First Colorado member. The CMS HCPCS is divided into two

   principal subsystems, referred to as level I and level II of the HCPCS. Health First Colorado

   Outpatient Behavioral Health Fee-for-Service Manual, p. 18.

          58.     Level I of the HCPCS is comprised of Current Procedural Terminology (CPT), a

   numeric coding system maintained by the American Medical Association (AMA). The CPT is a

   uniform coding system consisting of descriptive terms and identifying codes that are used

   primarily to identify medical services and procedures furnished by physicians and other health

   care professionals. Level II of the HCPCS is a standardized coding system that is used primarily



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   to identify products, supplies, and services not included in the CPT codes, such as ambulance

   services and durable medical equipment. Id.

           59.    HIPAA requires providers to comply with the coding guidelines of the AMA CPT

   Procedure Codes and the International Classification of Disease, Clinical Modification Diagnosis

   Codes. If there is no time designated in the official descriptor, the code represents one unit or

   session. Providers should regularly consult monthly bulletins in the Provider Services Bulletins

   section. Id.

             C. Texas Medicaid and its provision of mental health services by NPs:

           60.    Texas Medicaid also authorizes APRNs, which includes NPs, to provide the

   equivalent of physician services, provided the services are within the scope of practice of the

   APRN, are consistent with the Texas Board of Nursing’s rules and regulations and would be

   covered by Medicaid if provided by a licensed physician (M.D. or D.O.). Texas Administrative

   Code, Title 1, Part 15, Chapter 354, Subchapter A, Division 24, Rule § 354.1331.

           61.    Texas Medicaid will reimburse NPs for professional services at 92% of the

   reimbursement rate for the same professional service paid to a physician (M.D. or D. O.) Texas

   Administrative Code, Title 1, Part 15, Chapter 355, Subchapter J, Division 15, Rule § 355.8281.

           62.    Texas Medicaid also requires its providers to submit their claims in compliance

   with CPT and CMS’s HCPCS guidelines as defined by the American Medical Association and

   the CMS coding manuals. Texas Medicaid Provider Procedures Manual, July 2020, Volume 1,

   Section 6, Claims Filing, § 6.4.1.2

           63.    With respect to E/M codes, Texas also directs its providers to follow the 1995 or

   1997 Documentation Guidelines for Evaluation and Management Services published by CMS

   when selecting the level of service provided. Texas Medicaid Provider Procedures Manual, July



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   2020, Volume 2, Medical and Nursing Specialists, Physicians, and Physician Assistants

   Handbook, § 9.2.56.

                         VI. THE CPT CODES AT ISSUE IN THIS CASE:

          64.     This case alleges that the Defendants knowingly and falsely employed certain

   mental health related CPT codes to falsely bill certain GHPs. The Defendants’ practices

   included improperly combining or stacking certain CPT codes and upcoding other CPT codes.

          65.     The CPT codes most commonly misused by the Defendants include Codes 90785,

   90833, 90836, 90887, H0032, 99214 and 99215.

          66.     90785: Code 90785 is an add-on code used to report interactive complexity. The

   code should be listed separately in addition to the code for the primary service. Interactive

   complexity refers to specific communication factors that complicate the delivery of a psychiatric

   procedure. Some common factors include more difficult communication with discordant or

   emotional family members and engagement of young and verbally undeveloped or impaired

   patients. Patients that require this service are those who have third parties such as parents,

   guardians, other family members, interpreters, language translators, agencies, court officers, or

   schools involved in their psychiatric care (see Appendix H for more information). This code is to

   be reported in conjunction with codes for diagnostic psychiatric evaluation (90791, 90792),

   psychotherapy (90832-90834-90837), psychotherapy when performed with an evaluation and

   management service (90833, 90836, 90838, 99201-99255, 99304-99337, 99341-99350), and

   group psychotherapy (90853). The minimum documentation requirements include clearly

   defining the means of interactive complexity. Source: Colorado Department of Human Services

   2017 Uniform Service Coding Standards Manual (USCSM), p. 65.




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          67.     Appendix H to the Colorado 2017 USCSM, found at page 415, provides more

   detail regarding Code 90785. It explains that interactive complexity is often present with

   patients who have others involved in their care such as guardians, interpreters, child welfare

   agencies, parole or probation officers or schools. At least one of the following communication

   factors must be present during the visit:

          a.      The need to manage maladaptive communication (related to e.g., high anxiety,

          high reactivity, repeated questions, or disagreement) among participants that complicates

          delivery of care;

          b.      Caregiver emotions or behaviors that interfere with implementation of the

          treatment plan;

          c.      Evidence or disclosure of a sentinel event and mandated report to a third party

          (e.g., abuse or neglect with report to a state agency) with initiation of discussion of the

          sentinel event and/or report with patient and other visit participants; or

          d.      Use of play equipment, physical devices, interpreter or translator to overcome

          barriers to diagnostic or therapeutic interaction with a patient who is not fluent in the

          same language or who has not developed or lost expressive or receptive language skills to

          use or understand typical language.

          68.     The July 2020 USCSM states the same instructions for Code 90785. See page 52,

   and Appendix F found at page 368.

          69.     90833: Code 90833 is a psychotherapy add-on to be employed when a mental

   health provider provides 30 minutes of psychotherapy with the patient in addition to an

   evaluation and management service. The 90833 add-on is to be listed separately in addition to

   the code for the primary service. The service description states: Face-to-face psychotherapy with



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   a patient provided on the same day as an Evaluation and Management service by the same

   prescriber. The two services must be significant and separately identifiable. If a family member

   is present, the focus of the session is still on the patient and not on the family unit.” Colorado

   2017 USCSM, p. 73. (emphasis supplied). The minimum documentation requirements include

   specifying: “1. The reason for the visit. What was the intended goal or agenda? How does the

   service relate to the treatment/service plan? 2. Description of the service; 3. The therapeutic

   intervention(s) utilized and the individual’s response to the intervention(s); 4. How did the

   service impact the individual’s progress towards goals/objectives; and 5. Plan for next contact(s)

   including any follow-up or coordination needed with 3rd parties.” Id.

          70.     The July 2020 USCSM provides the same instructions for Code 90833. See p. 60.

          71.     CMS provides more information regarding the correct use of Code 90833 and

   embellishes on what the Colorado USCSM language of “significant and separately identifiable”

   means. In MLN Matters Number SE1407 re-issued on March 18, 2014 1 (“SE1407”), page 2,

   CMS explains that the main error CMS had identified with revised psychotherapy codes is the

   provider not clearly documenting the amount of time spent only on psychotherapy services:

   “The correct E&M code selection must be based on the elements of the history and exam and

   medical decision making required by the complexity/intensity of the patient’s condition. The

   psychotherapy code is chosen on the basis of the time spent providing psychotherapy. When a

   beneficiary receives an Evaluation and Management Service (E&M) service with a

   psychotherapeutic service on the same day, by the same provider, both services are payable if

   they are significant and separately identifiable and billed using the correct codes. … An add-on




   1
    https://www.cms.gov/Outreach-and-Education/Medicare-Learning-Network-
   MLN/MLNMattersArticles/Downloads/SE1407.pdf
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   code is eligible for payment only if reported with an appropriate primary service performed on

   the same date of service. Time spent for the E&M service is separate from the time spent

   providing psychotherapy and time spent providing psychotherapy cannot be used to meet criteria

   for the E&M service. Because time is indicated in the code descriptor for the psychotherapy

   CPT codes, it is important for providers to clearly document in the patient’s medical

   record the time spent providing the psychotherapy service rather than entering one time

   period including the E&M service.” (Underlining supplied for emphasis).

          72.     CMS publication SE1407 also explains that Code 90833 covers psychotherapy

   provided in the range of 16 to 37 minutes. It also instructs that psychotherapy codes should not

   be billed for sessions lasting less than 16 minutes. Page 3.

          73.     90836: Code 90836 is an add-on code that is essentially identical to Code 90833,

   with the exception that it is intended to apply to 45 minutes of psychotherapy. Source: Colorado

   2017 USCSM, p. 77; Colorado July 2020 USCSM, p. 63. SE1407 identifies that Code 90836

   covers psychotherapy provided in the range of 38 to 52 minutes. Page 3.

          74.     90887: The service description for Code 90887 states: “The treatment of the

   patient requires explanation(s) to the family, employer(s), or other involved persons to obtain

   their support and/or participation in the therapy/treatment process. The provider interprets the

   results of any psychiatric and medical examinations and procedures, as well as any other

   pertinent recorded data, and spends time explaining the patient’s condition. Advice is also given

   as to how the family and other involved persons can best assist the patient.” The procedure code

   description is: “Interpretation or explanation of results of psychiatric, other medical examinations

   and procedures, or other accumulated data to family or other responsible persons, or advising

   them how to assist patient.” The notes state: “The services provided for procedure code 90887



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   are considered separate and distinct from the work involved in psychotherapy (see psychotherapy

   procedure codes) as they have to do with explaining results of testing or an exam to family or

   other responsible person.” The minimum documentation requirements include: “1. The reason

   for the visit/call. What was the intended goal or agenda? How does the service relate to the

   treatment/service plan? What is the clinical need for specific testing; 2. Description of the service

   provided and patient response; 3. Summary of test results, interpretation of test results,

   discussion with individual about results; and 4. Treatment recommendations.” Source Colorado

   2107 USCSM, p. 99; Colorado July 2020 USCSM, p. 89.

          75.     H0032: The service description for Code H0032 is: “Activities to develop,

   evaluate, or modify a patient’s treatment/service plan, including the statement of individualized

   treatment/service goals, clinical interventions designed to achieve goals, and an evaluation of

   progress toward goals. The treatment/service plan is reviewed by the clinician and clinical

   supervisor, and revised with the patient as necessary or when a major change in the patient’s

   condition/service needs occurs.” The procedure code description is: “Mental health service plan

   development by non-physician.” The notes provide: “H0032 is used in lieu of individual

   psychotherapy procedure codes (see psychotherapy procedure codes) when the focus of the

   session is on treatment/service planning and no psychotherapy occurs during the session. Use a

   psychotherapy code if more than 50% of the session is psychotherapy.” The minimum

   documentation requirements are: “1. The reason for the visit. What was the intended goal or

   agenda? 2. Description of the service (should include discussion of treatment/service plan

   development). 3. Completion of or substantial progress toward plan development including

   required signatures according to agency policies. 4. Treatment/service plan revisions should

   include progress and/or completion of goals. 5. Plan for next contact(s) including any follow-up



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   or coordination needed with 3rd parties.” Source: Colorado 2017 USCSM, p. 236; Colorado

   July 2020 USCSM, p. 234.

            76.    E/M Codes 99214 and 99215: Codes 99214 and 99215 are part of a code scheme

   that provides for the billing of evaluation and management (E/M) services by a broad range of

   health care providers. Codes 99212-99215 apply to the provision of E&M services to

   established patients in an office or other outpatient setting.

            77.    Medicare and Medicaid providers have been provided with extensive instructions

   on how to properly bill E/M services. For example, Health First Colorado providers were

   instructed in Colorado’s 2017 USCSM, at pages 53-54, to employ CMS’ 1995 2 or 1997 3

   published guidelines to determine the correct E/M code to apply. Further at Appendix I, pages

   416-432 of the 2017 Colorado USCSM, the providers were provided with extensive instructions

   and examples to properly determine the correct E/M code. These instructions from Health First

   Colorado did not materially change through December 31, 2020. See Colorado’s July 2020

   USCSM at pages 34-35, Appendix G, pages 369-382.

            78.    The determination of which code applies to a given level of E/M services is

   driven by predominantly four factors: history, exam, medical decision making and the amount of

   time. For the codes 99212-99215, two of the three categories of history, exam and/or medical

   decision making must be satisfied. This relationship is illustrated by the following chart:

                                                                        Medical
           Code              History               Exam                                   Time
                                                                    Decision Making
        99212- Estb.
                         Problem focused     Problem focused        Straightforward       10 min
       Patient Level 2



   2
     https://www.cms.gov/Outreach-and-Education/Medicare-Learning-Network-
   MLN/MLNEdWebGuide/Downloads/95Docguidelines.pdf
   3
     https://www.cms.gov/Outreach-and-Education/Medicare-Learning-Network-
   MLN/MLNEdWebGuide/Downloads/97Docguidelines.pdf
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      99213- Estb.         Expanded            Expanded
                                                                 Low complexity           15 min
     Patient Level 3    problem focused     problem focused
      99214- Estb.                                                   Moderate
                            Detailed            Detailed                                  25 min
     Patient Level 4                                                complexity
      99215- Estb.
                         Comprehensive       Comprehensive       High complexity          40 min
     Patient Level 5

   Source: Colorado 2107 USCSM at 426; Colorado July 2020 USCSM at 377.

          79.     However, in the circumstance where counseling and/or coordination of care

   occupies more than 50% of the encounter, then the determination is driven solely by the amount

   of time. See, 2017 USCSM at page 422. Counseling is described in the 2017 Colorado USCSM

   as: “[i]nteraction with patient (and family) to discuss: diagnosis or recommended further work-

   up, prognosis, alternative management plans and associated risk or potential outcomes,

   instructions for management or follow-up, education including need for compliance, and risk

   factor reduction.” The 2017 USCSM comments that: “[c]ounseling is only used to determine

   the level of E&M code (although it should always be documented) when it (along with

   coordination of care) consists of more than 50% of the time spent in the encounter. Medicare

   usually requires a face-to-face interaction that includes the patient. Documentation should

   include a description of the content, time spent counseling and total time of the encounter.” 2017

   Colorado USCSM at 425.

          80.     Coordination of care means contact with other physicians or caregivers on behalf

   of the patient in the management of treatment, with the patient present. Id.

          81.     With respect to the first E/M component, History, the 1995 CMS E/M guidelines

   identify that the type of history is based on the following elements: chief complaint, history of

   present illness, review of systems and past, family and/or social history. Indication that the chief

   complaint was discussed is required for each type of history. The following chart from page 4 of

   the 1995 CMS E/M guidelines illustrates the relationship of the other three elements to the

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   determination of the type of history. To qualify for a given type of history, all three elements in

   the table must be met:

                                                           Past, family and/or
     History of present          Review of systems
                                                             social history         Type of history
       illness (HPI)                  (ROS)
                                                                 (PFSH)
             Brief                       N/a                       N/a              Problem focused
                                                                                   Expanded problem
             Brief               Problem pertinent                N/a
                                                                                        focused
          Extended                    Extended                 Pertinent                Detailed
          Extended                    Complete                 Complete             Comprehensive


          82.        With respect to “history of present illness,” or “HPI” it includes the following

   elements: location, quality, severity, duration, timing, context, modifying factors and associated

   symptoms. A brief HPI consists of one to three of the HPI elements. An extended HPI consists

   of four or more of the elements. 1995 CMS E/M guidelines at p. 6.

          83.        “Review of systems” or “ROS” is an inventory of body systems obtained through

   a series of questions seeking to identify signs and/or symptoms which the patient may be

   experiencing or has experienced. A “problem pertinent” ROS inquires about the system directly

   related to the problem identified in the HPI. An “extended” ROS inquires about the system

   directly related to the problem and a limited number of additional systems. A “complete” ROS

   inquires about the system(s) directly related to the problem(s) identified in the HPI plus all

   additional body systems. Id. at 6-8. The patient’s positive responses and pertinent negatives for

   the system(s) reviewed should be documented.

          84.        “Past, family and/or social history” or “PFSH” consists of a review of three areas:

   (1) past history- reviewing the patient’s past experiences with illnesses, operations, injuries and

   treatments; (2) family history- reviewing medical events in the patient’s family; and (3) social

   history – an age appropriate review of past and current activities. A “pertinent” PFSH is a


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   review of the history area directly related to the problem identified in the HPI. At least one

   specific item from any of the three history areas must be documented. A “complete” PFSH

   requires that one specific item from two of the three history areas must be documented. Id. at 8.

           85.    With respect to the second E/M component, Exam, in the circumstances of mental

   health care, CMS and Health First Colorado have provided practitioners with rules that are

   specific to mental health services. See, Colorado 2017 USCSM at p. 423; 1997 CMS E/M

   Guidelines at p. 38-39. These rules identify by bullet points various elements of examination

   broken down into the categories of constitutional, musculoskeletal and psychiatric. The

   constitutional and psychiatric bullet points are contained within a shaded border. The

   musculoskeletal bullet points are not within a shaded border. The following chart identifies the

   number of bullet points that must be performed and documented to qualify for a certain level of

   exam:

                Level of Exam                                 Perform and Document
               Problem focused                       One to five elements identified by a bullet
           Expanded problem focused                  At least six elements identified by a bullet
                   Detailed                         At least nine elements identified by a bullet
                                                     Perform all elements identified by a bullet;
                                                 document every element in each box with a shaded
                 Comprehensive
                                                 border and at least one element in each box with an
                                                                   unshaded border


           86.    The third E/M component, Medical Decision Making, or “MDM” refers to the

   complexity of establishing a diagnosis and/or selecting a management option as measured by:

                  a. The number of possible diagnosis and/or the number of management options

                      that must be considered;

                  b. The amount and/or complexity of medical records, diagnostic tests, and/or

                      other information that must be obtained, reviewed, and analyzed; and


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                 c. The risk of significant complications, morbidity, and/or mortality, as well as

                     comorbidities associated with the patient’s presenting problem(s), the

                     diagnostic procedure(s) and/or the possible management options.

   CMS 1995 E/M Guidelines at p. 11.

          87.    The following chart shows the progression of the elements required for each level

   of medical decision making. To qualify for a given type of MDM, two of the three elements in

   the table must be met or exceeded:

         Number of                                           Risk of
                              Amount and/or
        diagnoses or                                     complications         Type of decision
                             complexity of data
        management                                     and/or morbidity or        making
                               to be reviewed
           options                                          mortality
          Minimal             Minimal or none               Minimal           Straightforward
          Limited                Limited                      Low             Low complexity
          Multiple               Moderate                   Moderate         Moderate complexity
         Extensive              Extensive                     High            High complexity


   CMS 1995 E/M Guidelines at p. 11.

          88.    The number of possible diagnoses and/or the number of management options that

   must be considered is based on the number and types of problems addressed during the

   encounter, the complexity of establishing a diagnosis and the management decisions that are

   made by the provider. Generally, decision making for a diagnosed problem is easier than for an

   identified but undiagnosed problem. The number and type of diagnostic tests employed may be

   an indicator of the number of possible diagnoses. Problems which are improving or resolving are

   less complex than those which are worsening or failing to change as expected. The need to seek

   advice from others is another indicator of complexity of diagnostic or management problems.

   CMS 1995 E/M Guidelines at 11-12.




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          89.      The amount and complexity of data to be reviewed is based on the types of

   diagnostic testing ordered or reviewed. A decision to obtain and review old medical records

   and/or obtain history from sources other than the patient increases the amount and complexity of

   data to be reviewed. Discussion of contradictory or unexpected test results with the physician

   who performed or interpreted the test is an indication of the complexity of data being reviewed.

   The amount and complexity of the data reviewed or to be reviewed should be well documented.

   Id. at 12-13.

          90.      The risk of significant complications, morbidity, and/or mortality is based on the

   risks associated with the presenting problem(s), the diagnostic procedure(s), and the possible

   management options. Id. at 14-15.

             VII. THE DEFENDANTS’ DUTY TO UNDERSTAND THE LAW

          91.      Those who deal with the federal government, and in particular, those who seek

   compensation from the federal government, must use due care to ensure that when they request

   payment from the government they are legally entitled to receive that compensation. Every

   person who deals with the federal government is presumed to know the law. See, e.g., Cheek v.

   United States, 498 U.S. 192, 199, 111 S. Ct. 604, 609, 112 L. Ed. 2d 617 (1991); United States v.

   International Minerals & Chemical Corp., 402 U.S. 558, 91 S.Ct. 1697, 29 L.Ed.2d 178 (1971);

   United States v. Aquino-Chacon, 109 F.3d 936, 938 (4th Cir. 1997).

          92.      Failure to adequately familiarize oneself with the legal requirements for

   government compensation is evidence of reckless disregard. See United States v. Mackby, 261

   F.3d 821, 828 (9th Cir. 2001).

          93.      Furthermore, when an individual or entity is confused by the legal requirements

   of a regulation, it has “some duty to make a limited inquiry so as to be reasonably certain they



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   are entitled to the money they seek.” United States v. Bourseau, 531 F.3d 1159, 1168 (9th

   Cir. 2008). The unique circumstances of each case dictate the extent of the duty to inquire. Id.

             VIII.         THE IMPROPER CONDUCT OF THE DEFENDANTS

          A. Background:

          94.       The allegations of the Defendants’ improper conduct are based on the direct and

   independent knowledge of Relator Butler.

          95.       Relator Butler worked for the Defendant MHP as a compliance manager from

   approximately June of 2019 until approximately December of 2020 auditing patient charts and

   billing codes.

          96.       MHP is a business wholly owned and controlled by Chism.

          97.       MHP has three offices, two in Colorado and one in Houston, Texas.

          98.       Approximately sixteen NPs work for MHP. Physicians do not work in the

   Colorado offices. Texas requires physician supervision of NPs, so the Texas MHP office works

   in association with a physician, William Goldman, M.D.

          99.       MHP offers the services of most of its NPs via telecommunication to residents of

   Colorado and Texas.

          100.      Medicaid patients dominate MHP’s practice. 52% of MHP’s patient base is

   insured by Medicaid. Approximately 80% of the billing is to Medicaid. From January, 2020

   through November, 2020, approximately $16 million was billed by MHP to Colorado and Texas

   Medicaid.

          101.      During the time that Butler worked for MHP she observed that Chism, the sole

   owner of MHP, dominated and controlled the actions of MHP and its personnel.




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          102.     Chism is independently liable for the acts and omissions of MHP by virtue of his

   individual acts as well as the fact that he dominated and controlled MHP.

          103.     And, MHP is liable for Chism’s actions and the actions of all of its officers,

   directors, agents and employees.

          104.     During the time that Butler worked for Mile High, she had direct conversations

   and interactions with Chism and other Mile High personnel regarding the matters at issue. Butler

   also had access on a regular basis to the patients’ charts and their billing records.

          105.     Butler also reviewed patient charts and billing records as far back as 2017 and

   observed the same fraudulent practices complained of herein.

          106.     Butler, as well as the team with whom she worked, had little experience with

   patient bill coding or the type of patient chart and bill auditing they were performing.

          107.     Chism intentionally hired inexperienced and uneducated individuals to perform

   these coding and auditing functions.

          108.     These individuals were dependent on the instructions and advice Chism gave

   them. These individuals had little idea about what they were doing or how accurately the

   respective CPT codes were being applied or billed. They simply followed Chism’s firm

   instructions.

          109.     Chism knowingly failed to ensure that the providers and the personnel responsible

   for billing and auditing had the proper education, training, experience and resource materials to

   accurately bill for the services MHP provided.

          110.     Chism instructed the personnel of MHP to falsely code and bill. For example,

   with respect to code H0032, Chism instructed the providers, the coders and the auditors to bill




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   this charge every 30 days, regardless of whether the precise requirements of code H0032 had

   been met.

          111.      Chism also instructed the MHP providers to always indicate that the provider had

   administered at least 16 minutes of psychotherapy so that code 90833 could be billed. Most of

   the MHP providers, who had historically only dealt with medication management, found this

   request to be inappropriate.

          112.      For a significant amount of the time between 2017 and the present, the clinic

   sessions were scheduled on 15 minute intervals so the total time the MHP providers saw a given

   patient did not exceed 15 minutes.

          113.      Chism and MHP regularly engaged in the practice of altering a patient’s chart to

   justify a given billing code.

          114.      Many of the MHP providers acknowledged to Butler that a given patient visit was

   devoted to medication management and not to the provision of any meaningful psychotherapy.

   As the ten charts identified below evidence, even though the provider claimed to have spent at

   least 16 minutes providing psychotherapy, the charts were devoid of any lengthy details that

   documented the alleged dialogs between the provider and the patient regarding psychotherapy.

   Instead, the charts just contain general statements about the provision of psychotherapy like

   coping skills were discussed, supportive therapy was provided and the importance of lab work

   was discussed.

          115.      The patient’s charts did not meet the minimum documentation requirements of the

   CPT psychotherapy codes like code 90833. See, July 2020 Colorado USCSM at page 59.

   Instead, the chart’s brief comments about psychotherapy appear more consistent with the

   provision of E/M services.



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          116.    With respect to code 90785, Chism instructed the MHP personnel to always bill

   this code anytime there was anything that occurred during a clinic session that caused a

   distraction such as children in the background or the patient was driving in a car, regardless of

   whether the precise requirements of code 90785 had been met.

          117.    With respect to code 90887, Chism instructed the MHP personnel to always bill

   this code anytime someone else attended the clinic session with the patient, regardless of whether

   the precise requirements of code 90887 had been met.

          118.    With respect to the E/M codes, Chism instructed the MHP personnel to always

   bill at least a Level 4 charge, such as 99204 and 99205 for new patients and 99214 and 99215 for

   existing patients, regardless of whether the precise requirements of these E/M codes had been

   met.

          119.    In fact, Chism’s standing instruction was that if someone billed Level 3 for E/M

   services (Codes 99203 or 99213), he was to be provided the patient’s chart and bill. Generally,

   Chism would review the chart and bill and disapprove the Level 3 status. Chism would then

   send the chart back to the provider with the instruction that the provider was supposed to add

   more documentation to the chart so that a Level 4 or Level 5 E/M charge could be billed.

          120.    In addition, at times, the patient’s chart was altered by someone other than the

   provider to bolster MHP’s claim for payment.

          121.    Over time, Butler educated herself regarding the proper standards for billing E/M

   services. As Butler became more educated, she began to realize that Chism and MHP were

   defrauding the respective private health insurance companies and GHPs they were billing.

          122.    Butler learned and appreciated that the Defendants were engaged in a large scale

   scheme to falsely bill the private health insurance companies and GHP payors by uniformly



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   upcoding on certain charges, like the E/M charges, and adding to the patient’s bills inappropriate

   charges like codes 90785, 909887 and H0032.

          123.       Butler also learned via her discussions with the MHP NPs that Chism was forcing

   them to maintain the prescriptions of unnecessary controlled medications like combining a

   stimulant like Adderall with certain benzodiazepines like Xanax, Ativan or Valium. The

   providers complained that they were then required to see the patients on an unnecessarily

   frequent basis.

          124.       The providers also complained that the maintenance of these controlled

   substances was occurring without the patient undergoing the reasonable and necessary tests and

   screenings required by the applicable standard of care.

          125.       One experienced NP, Kim Cotton, was fired by Chism because she complained of

   this practice of unnecessarily prescribing certain combinations of controlled substances.

          126.       Chism at times also inappropriately billed the services of a given NP under his

   NPI number. For example, with reference to the patient examples below, on April 7, 2020

   Patient 2 was seen by NP Ashley Burns. Yet, when the MHP was submitted to Health First

   Colorado it claimed that Chism was the provider. Similarly, on March 31, 2020 Patient 4 was

   seen by Np Ashley Burns yet Chism represented on the bill to Health First Colorado that he was

   the provider.

          B. Patient Examples:

          127.       The following patient examples provide evidence of the Defendants’ knowingly

   false billing of GHPs.

          128.       Patient 1 is a 31 year old female who was seen at MHP by Kristen Wille APRN

   (“Wille”) on June 11, 2020. The total time of the encounter was 30 minutes of which 16+



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   minutes were attributed to providing psychotherapy, which left less than 14 minutes for the

   provision of E/M services. The purpose of the visit was to follow up and refill the patient’s

   medications. MHP billed Health First Colorado on July 13, 2020 claiming CPT codes 99215,

   H0032 and 90833 for a total of $410.00.

          129.     To begin with, the use of CPT code H0032 was false as more than 50% of the

   encounter was claimed to be for the provision of psychotherapy. In addition, the chart notes do

   not reflect any revisions or modifications to the patient’s treatment plan.

          130.     It is claimed that 16+ minutes were dedicated to the provision of psychotherapy.

   The chart simply states: “16+ minutes of therapy discussing: coping skills used for situational

   stress and increased anxiety, medication management moving forward.” Arguably the

   “psychotherapy” was really just E/M services. These notes do not comply with the minimum

   documentation requirements for billing code 90833.

          131.    Patient 1’s chart does not support MHP’s claim that E/M services were provided

   at a level that justified claiming CPT code 99215.

          132.     More accurately the visit only qualified for CPT code 99212. With respect to the

   patient’s history, the HPI was “brief,” no ROS was documented so the ROS component was

   “n/a,” no PHSH was documented so that component was “n/a,” so the type of history was

   “problem focused.” With respect to the exam component, no exam was documented, so the type

   of exam was “problem focused.” And with respect to the MDM component, the number of

   diagnoses or management options were “limited” as the patient’s diagnoses had been previously

   established, the patient’s symptoms were stable and Wille simply continued the patient’s

   medications. There was no documentation of any data that needed to be reviewed so that




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   component was “minimal or none.” And, the risk of complications or morbidity was “minimal.”

   So the type of MDM was “straightforward.”

          133.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 1’s services only qualified for use of the 99212 code:

                                                                    Medical Decision
          Code               History                Exam                                   Time
                                                                       Making
     99212- Estb.
                        Problem focused       Problem focused        Straightforward      10 min
    Patient Level 2
     99213- Estb.           Expanded          Expanded problem
                                                                     Low complexity       15 min
    Patient Level 3      problem focused          focused
     99214- Estb.                                                        Moderate
                             Detailed              Detailed                               25 min
    Patient Level 4                                                     complexity
     99215- Estb.
                         Comprehensive         Comprehensive         High complexity       40 min
    Patient Level 5


          134.    Patient 2 is a 23 year old female who was seen at MHP by Ashley Burns APRN

   (“Burns”) on April 7, 2020. The total time of the encounter was 22 minutes of which 16+

   minutes were attributed to providing psychotherapy, which left less than 6 minutes for the

   provision of E/M services. The purpose of the visit was for routine follow up for management

   of the patient’s attention deficit hyperactivity disorder (ADHD), major depressive disorder

   (MDD) and general anxiety disorder (GAD). MHP billed Health First Colorado on July 20, 2020

   claiming CPT codes 99215, H0032 and 90833 for a total of $410.00. The bill was falsely

   submitted under Chism’s NPI number as opposed to Burns’ NPI number.

          135.    To begin with, the use of CPT code H0032 was false as more than 50% of the

   encounter was claimed to be for the provision of psychotherapy. In addition, the chart notes do

   not reflect any revisions or modifications to the patient’s treatment plan.




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          136.    It is claimed that 16+ minutes were dedicated to the provision of psychotherapy.

   Patient 2’s chart sates: “16 + minutes devoted exclusively to psychotherapy today in the form of

   behavioral and cognitive therapy discussing: new job and celebrating successes, family struggles

   (elected to postpone adoption of Ana), preparing for upcoming move and navigating challenging

   family dynamics with brother in law and cousin in law, sleep hygiene.“ These notes do not

   comply with the minimum documentation requirements for billing code 90833.

          137.    Patient 2’s chart does not support MHP’s claim that E/M services were provided

   at a level that justified claiming CPT code 99215.

          138.     More accurately the visit only qualified for CPT code 99212. With respect to

   the patient’s history, the HPI was “extended,” no ROS was documented so that component was

   “n/a” and the PHSH was “complete,” so the type of history was “problem focused” because all

   three elements must be met. With respect to the exam component, 9+ bullet points were

   documented, so the type of exam was “detailed.” And with respect to the MDM component, the

   number of diagnoses or management options were “limited” as the patient’s diagnoses had been

   previously established, the patient’s symptoms were stable, improving or well controlled and

   Burns simply continued the patient’s medications. There was no documentation of any data that

   needed to be reviewed so that component was “minimal or none.” And, the risk of complications

   or morbidity was “minimal.” So the type of MDM was “straightforward.”

          139.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 2’s services only qualified for use of the 99212 code:

                                                                   Medical Decision
          Code               History               Exam                                   Time
                                                                      Making
     99212- Estb.
                        Problem focused       Problem focused       Straightforward      10 min
    Patient Level 2

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      99213- Estb.          Expanded          Expanded problem
                                                                     Low complexity       15 min
     Patient Level 3     problem focused          focused
      99214- Estb.                                                       Moderate
                             Detailed              Detailed                               25 min
     Patient Level 4                                                    complexity
      99215- Estb.
                         Comprehensive         Comprehensive         High complexity       40 min
     Patient Level 5


          140.    Patient 3 is a 22 year old female who was seen remotely by Sonata Poon APRN

   (“Poon”) on September 2, 2020. The total time of the encounter was 30 minutes of which 16

   minutes were attributed to providing psychotherapy, which left less than 14 minutes for the

   provision of E/M services. The purpose of the visit was for follow up for management of the

   patient’s attention deficit hyperactivity disorder (ADHD), and general anxiety disorder (GAD).

   MHP billed Health First Colorado on September 10, 2020 claiming CPT codes 99215, H0032

   and 90833 for a total of $410.00.

          141.    To begin with, the use of CPT code H0032 was false as more than 50% of the

   encounter was claimed to be for the provision of psychotherapy. In addition, the chart notes do

   not reflect any revisions or modifications to the patient’s treatment plan.

          142.    It is claimed that 16 minutes were dedicated to the provision of psychotherapy.

   The chart simply states: “Provided psychotherapy for _16__ mins applying the following

   therapeutic maneuver: Supportive Therapy which reinforces your ability to cope with stress and

   difficult situation.” These notes do not comply with the minimum documentation requirements

   for billing code 90833.

          143.    Patient 3’s chart does not support MHP’s claim that the E/M services were

   provided at a level that justified claiming CPT code 99215.

          144.     More accurately the visit only qualified for CPT code 99212. With respect to

   the patient’s history, the HPI was “extended,” no ROS was documented, but credit is provided


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   for the documented psyche history, so the ROS was “problem pertinent” and the PHSH was

   “complete,” so the type of history was “expanded problem focused” because all three elements

   must be met. With respect to the exam component, no bullet points were documented, so the

   type of exam was “problem focused.” And with respect to the MDM component, the number of

   diagnoses or management options were “limited” as the patient’s diagnoses had been previously

   established, the patient’s symptoms were improving and Poon simply continued the patient’s

   medications, with one exception where she increased the Concerta. Labs were ordered but not

   reviewed, so the data component was “minimal or none.” And, the risk of complications or

   morbidity was “minimal.” So the type of MDM was “straightforward.”

          145.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 3’s services only qualified for use of the 99212 code:

                                                                   Medical Decision
          Code               History               Exam                                  Time
                                                                      Making
     99212- Estb.
                        Problem focused      Problem focused        Straightforward     10 min
    Patient Level 2
     99213- Estb.          Expanded          Expanded problem
                                                                    Low complexity      15 min
    Patient Level 3     problem focused          focused
     99214- Estb.                                                       Moderate
                             Detailed             Detailed                              25 min
    Patient Level 4                                                    complexity
     99215- Estb.
                         Comprehensive         Comprehensive        High complexity     40 min
    Patient Level 5


          146.    Patient 4 is a 29 year old male who was seen by Burns on March 31, 2020. The

   total time of the encounter was 20 minutes of which 16+ minutes were attributed to providing

   psychotherapy, which left less than 4 minutes for the provision of E/M services. The purpose of

   the visit was for follow up for management of the patient’s MDD, anxiety, PTSD and insomnia.

   MHP billed Health First Colorado on July 20, 2020 claiming CPT codes 99215, H0032 and


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   90833 for a total of $410.00. The CMS 1500 form was falsely submitted to Health First

   Colorado using Chism’s NPI number as opposed to Burns’ NPI number.

          147.    To begin with, the use of CPT code H0032 was false as more than 50% of the

   encounter was claimed to be for the provision of psychotherapy. In addition, the chart notes do

   not reflect any significant revisions or modifications to the patient’s treatment plan.

          148.    It is claimed that 16+ minutes were dedicated to the provision of psychotherapy.

   Patient 4’s chart states: “16+ minutes of therapy in the form of: Supportive Therapy which

   reinforces your ability to cope with stress and difficult situation- discussed coping mechanisms

   for depression and importance of EMDR for PTSD and past traumas. discussed importance of

   lab work for high risk medications- advised him to eat before getting blood drawn due to hx of

   fainting.” These notes do not comply with the minimum documentation requirements for billing

   code 90833.

          149.    Patient 4’s chart does not support MHP’s claim that E/M services were provided

   at a level that justified claiming CPT code 99215.

          150.     More accurately the visit only qualified for CPT code 99213. With respect to

   the patient’s history, the HPI was “extended,” no ROS was documented, but credit is provided

   for the documented psyche history, so the ROS was “problem pertinent” and the PHSH was

   “complete,” so the type of history was “expanded problem focused” because all three elements

   must be met. With respect to the exam component, 8 bullet points were documented, so the type

   of exam was “expanded problem focused.” And with respect to the MDM component, the

   number of diagnoses or management options were “limited” as the patient’s diagnoses had been

   previously established, the patient’s symptoms were improving or stable and Burns simply

   continued the patient’s medications. Labs were ordered but not reviewed, so the data



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   component was “minimal or none.” And, the risk of complications or morbidity was “minimal.”

   So the type of MDM was “straightforward.”

          151.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 4’s services only qualified for use of the 99213 code:

                                                                            Medical
             Code                History                 Exam                                   Time
                                                                    Decision Making
     99212- Estb.
                        Problem focused       Problem focused       Straightforward          10 min
    Patient Level 2
     99213- Estb.          Expanded              Expanded
                                                                    Low complexity           15 min
    Patient Level 3     problem focused       problem focused
     99214- Estb.                                                       Moderate
                             Detailed             Detailed                                   25 min
    Patient Level 4                                                    complexity
     99215- Estb.
                         Comprehensive         Comprehensive        High complexity           40 min
    Patient Level 5


          152.    Patient 5 is a 30 year old female who was seen by Kelly Kilcrease APRN

   (“Kilcrease”) on July 29, 2020. The total time of the encounter was 26 minutes of which 16

   minutes were attributed to providing psychotherapy, which left 10 minutes for the provision of

   E/M services. The purpose of the visit was for a routine follow up of the patient’s depression

   and anxiety and review of medications. MHP billed Health First Colorado on August 4, 2020

   claiming CPT codes 99215, H0032 and 90833 for a total of $410.00.

          153.    To begin with, the use of CPT code H0032 was false as more than 50% of the

   encounter was claimed to be for the provision of psychotherapy. In addition, the chart notes do

   not reflect any significant revisions or modifications to the patient’s treatment plan.

          154.    It is claimed that 16 minutes were dedicated to the provision of psychotherapy.

   Patient 5’s chart simply states: “__16__ minutes of therapy discussing: _______supportive




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   therapy and coping skills, journal use (food, anxiety sx) using MI and active listening.” These

   notes do not comply with the minimum documentation requirements for billing code 90833.

          155.    Patient 5’s chart does not support MHP’s claim that E/M services were provided

   at a level that justified claiming CPT code 99215.

          156.     More accurately the visit only qualified for CPT code 99212. With respect to

   the patient’s history, the HPI was “extended,” the ROS was “extended” and the PHSH was

   “complete,” so the type of history was “comprehensive.” With respect to the exam component,

   no bullet points were documented, so the type of exam was “problem focused.” And with respect

   to the MDM component, the number of diagnoses or management options were “limited” as the

   patient’s diagnoses had been previously established, the patient’s symptoms were improving or

   stable and Kilcrease simply continued or increased the patient’s medications. Labs were

   ordered but not reviewed, so the data component was “minimal or none.” And, the risk of

   complications or morbidity was “minimal.” So the type of MDM was “straightforward.”

          157.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 5’s services only qualified for use of the 99212 code:

                                                                   Medical Decision
          Code               History               Exam                                    Time
                                                                      Making
     99212- Estb.
                        Problem focused      Problem focused        Straightforward       10 min
    Patient Level 2
     99213- Estb.          Expanded          Expanded problem
                                                                    Low complexity        15 min
    Patient Level 3     problem focused          focused
     99214- Estb.                                                       Moderate
                             Detailed             Detailed                                25 min
    Patient Level 4                                                    complexity
     99215- Estb.
                         Comprehensive         Comprehensive        High complexity        40 min
    Patient Level 5




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          158.    Patient 6 is a 49 year old female who was seen by Wille on June 17, 2020. The

   total time of the encounter was 25 minutes of which 16+ minutes were attributed to providing

   psychotherapy, which left less than 9 minutes for the provision of E/M services. The purpose of

   the visit was for follow up of the patient’s MDD, GAD, insomnia and ADHD for medication

   refills. MHP billed Health First Colorado on July 20, 2020 claiming CPT codes 99215, H0032

   and 90833 for a total of $410.00.

          159.    To begin with, arguably the use of CPT code H0032 was false as more than 50%

   of the encounter was claimed to be for the provision of psychotherapy. In addition, the chart

   notes do not reflect any significant revisions or modifications to the patient’s treatment plan.

          160.    It is claimed that 16+ minutes were dedicated to the provision of psychotherapy.

   Patient 6’s chart states: “16+ minutes of therapy discussing: mood management, medication plan

   moving forward.” These notes do not comply with the minimum documentation requirements

   for billing code 90833.

          161.    Another way to look at this chart is that the 16+ minutes were not psychotherapy

   but were for development of a treatment plan, in which case the H0032 charge would be

   appropriate but the 90833 charge would not be.

          162.    Patient 6’s chart does not support MHP’s claim that E/M services were provided

   at a level that justified claiming CPT code 99215.

          163.    More accurately the visit only qualified for CPT code 99212. With respect to the

   patient’s history, the HPI was “extended,” no ROS was documented, but credit is provided for

   the documented psyche history, so the ROS was “problem pertinent” and the PHSH was

   “pertinent,” so the type of history was “expanded problem focused” because all three elements

   must be met. With respect to the exam component, no bullet points were documented, so the



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   type of exam was “problem focused.” And with respect to the MDM component, the number of

   diagnoses or management options were “limited” as the patient’s diagnoses had been previously

   established, the patient’s symptoms were improving, with one exception, and Wille simply

   continued the patient’s medications, with one exception. Labs were not ordered or reviewed, so

   the data component was “minimal or none.” And, the risk of complications or morbidity was

   “minimal.” So the type of MDM was “straightforward.”

          164.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 6’s services only qualified for use of the 99212 code:

                                                                   Medical Decision
          Code               History               Exam                                  Time
                                                                      Making
     99212- Estb.
                        Problem focused      Problem focused        Straightforward     10 min
    Patient Level 2
     99213- Estb.          Expanded          Expanded problem
                                                                    Low complexity      15 min
    Patient Level 3     problem focused          focused
     99214- Estb.                                                       Moderate
                             Detailed             Detailed                              25 min
    Patient Level 4                                                    complexity
     99215- Estb.
                         Comprehensive         Comprehensive        High complexity       40 min
    Patient Level 5


          165.    Patient 7 is a 29 year old female who was seen remotely by Precious Barnes

   APRN (“Barnes”) on August 28, 2020. The total time of the encounter was 30 minutes of which

   16 minutes were attributed to providing psychotherapy, which left 14 minutes for the provision

   of E/M services. The purpose of the visit was for follow up medication management for the

   patient’s anxiety, depression and PTSD. MHP billed Health First Colorado on September 3, 2020

   claiming CPT codes 99215, H0032 and 90833 for a total of $410.00.




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          166.    To begin with, arguably the use of CPT code H0032 was false as more than 50%

   of the encounter was claimed to be for the provision of psychotherapy. In addition, the chart

   notes do not reflect any significant revisions or modifications to the patient’s treatment plan.

          167.    It is claimed that 16 minutes were dedicated to the provision of psychotherapy.

   Patient 7’s chart states: “Provided psychotherapy for 16 mins applying the following therapeutic

   maneuver: empathetic listening, coping skills and sleep hygiene discussed.” These notes do not

   comply with the minimum documentation requirements for billing code 90833.

          168.    Patient 7’s chart does not support MHP’s claim that E/M services were provided

   at a level that justified claiming CPT code 99215.

          169.    More accurately the visit only qualified for CPT code 99213. With respect to the

   patient’s history, the HPI was “extended,” no ROS was documented, but credit is provided for

   the documented psyche history, so the ROS was “problem pertinent” and the PHSH was

   “complete,” so the type of history was “expanded problem focused” because all three elements

   must be met. With respect to the exam component, less than five bullet points were documented,

   so the type of exam was “problem focused.” And with respect to the MDM component, the

   number of diagnoses or management options were “limited” as the patient’s diagnoses had been

   previously established, the patient’s symptoms were improving, with one exception, and Barnes

   made one change in medication, but otherwise kept the treatment program the same.         Labs were

   not ordered or reviewed, but Barnes did have to interpret a screening for autism so the data

   component was “limited.” And, the risk of complications or morbidity was “minimal.” So the

   type of MDM was “low complexity.”




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          170.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 6’s services only qualified for use of the 99213 code:

                                                                            Medical
              Code               History                 Exam                                   Time
                                                                    Decision Making
     99212- Estb.
                         Problem focused      Problem focused        Straightforward         10 min
    Patient Level 2
     99213- Estb.           Expanded         Expanded problem
                                                                    Low complexity           15 min
    Patient Level 3      problem focused         focused
     99214- Estb.                                                       Moderate
                             Detailed             Detailed                                   25 min
    Patient Level 4                                                    complexity
     99215- Estb.
                         Comprehensive         Comprehensive        High complexity          40 min
    Patient Level 5


          171.    Patient 8 is a 33 year old female who was seen remotely by Valerie Baunoch

   APRN (“Baunoch”) on September 10, 2020. The total time of the encounter was 35 minutes of

   which 20 minutes were attributed to providing psychotherapy, which left 15 minutes for the

   provision of E/M services. The purpose of the visit was for follow up evaluation of the patient’s

   bipolar disorder, depression and anxiety. MHP billed Health First Colorado on September 21,

   2020 claiming CPT codes 99215, H0032 and 90833 for a total of $410.00.

          172.    To begin with, the use of CPT code H0032 was false as more than 50% of the

   encounter was claimed to be for the provision of psychotherapy. In addition, the chart notes do

   not reflect any significant revisions or modifications to the patient’s treatment plan.

          173.    It is claimed that 20 minutes were dedicated to the provision of psychotherapy.

   Patient 8’s chart states: “Provided psychotherapy for 20 mins applying the following therapeutic

   maneuver: Supportive therapy, coping skills, safety planning, substance use, anxiety and stress

   management.” These notes do not comply with the minimum documentation requirements for

   billing code 90833.


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          174.    Patient 8’s chart does not support MHP’s claim that E/M services were provided

   at a level that justified claiming CPT code 99215.

          175.    More accurately the visit only qualified for CPT code 99212. With respect to the

   patient’s history, the HPI was “extended,” no ROS was documented, but credit is provided for

   the documented psyche history, so the ROS was “problem pertinent” and the PHSH was

   “complete,” so the type of history was “expanded problem focused” because all three elements

   must be met. With respect to the exam component, no bullet points were documented, so the

   type of exam was “problem focused.” And with respect to the MDM component, the number of

   diagnoses or management options were “limited” as the patient’s diagnoses had been previously

   established, the patient’s symptoms were improving, with one exception, and Baunoch made

   modest adjustments to the medication. Labs were not ordered or reviewed, and the review of

   other data was not documented so the data component was “minimal or none.” And, the risk of

   complications or morbidity was “minimal.” So the type of MDM was “straightforward.”

          176.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 8’s services only qualified for use of the 99212 code:

                                                                   Medical Decision
          Code               History               Exam                                  Time
                                                                      Making
     99212- Estb.
                        Problem focused      Problem focused        Straightforward     10 min
    Patient Level 2
     99213- Estb.          Expanded          Expanded problem
                                                                    Low complexity      15 min
    Patient Level 3     problem focused          focused
     99214- Estb.                                                       Moderate
                             Detailed             Detailed                              25 min
    Patient Level 4                                                    complexity
     99215- Estb.
                         Comprehensive         Comprehensive        High complexity       40 min
    Patient Level 5




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            177.   Patient 9 is a 39 year old female who was seen remotely by Baunoch on

   September 10, 2020. The total time of the encounter was 30 minutes of which 16 minutes were

   attributed to providing psychotherapy, which left 14 minutes for the provision of E/M services.

   The purpose of the visit was for follow up of the patient’s bipolar disorder, GAD and PTSD.

   MHP billed Health First Colorado on September 10, 2020 claiming CPT codes 99215, H0032

   and 90833 for a total of $410.00.

            178.   To begin with, the use of CPT code H0032 was false as more than 50% of the

   encounter was claimed to be for the provision of psychotherapy. In addition, the chart notes do

   not reflect any significant revisions or modifications to the patient’s treatment plan.

            179.   It is claimed that 16 minutes were dedicated to the provision of psychotherapy.

   Patient 9’s chart states: “Provided psychotherapy for 16 mins applying the following therapeutic

   maneuver: supportive therapy, coping skills, safety planning, anxiety and stress management.”

   These notes do not comply with the minimum documentation requirements for billing code

   90833.

            180.   Patient 9’s chart does not support MHP’s claim that E/M services were provided

   at a level that justified claiming CPT code 99215.

            181.   More accurately the visit only qualified for CPT code 99213. With respect to the

   patient’s history, the HPI was “extended,” the ROS was “extended” and the PHSH was

   “complete,” so the type of history was “comprehensive.” With respect to the exam component,

   no bullet points were documented, so the type of exam was “problem focused.” And with respect

   to the MDM component, the number of diagnoses or management options were “limited” as the

   patient’s diagnoses had been previously established, the patient’s symptoms were improving or

   at a level that did not require significant adjustments in the treatment plan, and no changes were



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   made in the medications. Labs were not ordered or reviewed, so the data component was

   “minimal or none.” And, the risk of complications or morbidity was “minimal.” So the type of

   MDM was “low complexity.”

          182.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 9’s services only qualified for use of the 99213 code:

                                                                     Medical Decision
          Code               History                Exam                                     Time
                                                                        Making
     99212- Estb.
                         Problem focused      Problem focused         Straightforward        10 min
    Patient Level 2
     99213- Estb.           Expanded          Expanded problem
                                                                     Low complexity          15 min
    Patient Level 3      problem focused          focused
     99214- Estb.                                                        Moderate
                             Detailed              Detailed                                  25 min
    Patient Level 4                                                     complexity
     99215- Estb.
                         Comprehensive          Comprehensive        High complexity          40 min
    Patient Level 5


          183.    Patient 10 is an 8 year old male who was seen by Wille on July 7, 2020, in the

   company of his mother. The total time of the encounter was 25 minutes of which 16 minutes

   were attributed to providing psychotherapy, which left 9 minutes for the provision of E/M

   services. The purpose of the visit was for follow up of the patient’s medication refills. MHP

   billed Health First Colorado on August 19, 2020 claiming CPT codes 99214, H0032, 90833 and

   90887 for a total of $520.00.

          184.    To begin with, the use of CPT code H0032 was false as more than 50% of the

   encounter was claimed to be for the provision of psychotherapy. In addition, the chart notes do

   not reflect any significant revisions or modifications to the patient’s treatment plan.

          185.    The submission of a claim for CPT code 90887 was also false. Code 90887

   requires that the provider interpret the results of any psychiatric examinations and procedures, as


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   well as any other pertinent recorded data and spend time explaining the patient’s condition,

   separate and apart from the provision of psychotherapy to the patient. The minimum

   documentation requirements include providing a summary of the test results, interpretation of

   test results and discussion with the individual about the results. Colorado 2017 USCSM, p. 99.

   Patient 10’s chart does not document that any test results were discussed with Patient 10’s

   mother.

          186.    It is claimed that 16 minutes were dedicated to the provision of psychotherapy.

   Patient 10’s chart states: “16 minutes of therapy discussing: sleep issues, mood management,

   aggression and benefit with CBD.” These notes do not comply with the minimum

   documentation requirements for billing code 90833.

          187.    Patient 10’s chart does not support MHP’s claim that E/M services were provided

   at a level that justified claiming CPT code 99214.

          188.    More accurately the visit only qualified for CPT code 99212. With respect to the

   patient’s history, the HPI was marginal but will be considered “extended,” no ROS was

   documented, but credit will be provided for the discussion of the patient’s symptoms so the ROS

   will be considered “problem pertinent.” No PHSH was documented so that component will be

   considered “n/a.” Therefore, the type of history was “problem focused.” With respect to the

   exam component, no bullet points were documented, so the type of exam was “problem

   focused.” And with respect to the MDM component, the number of diagnoses or management

   options were “minimal” as the patient’s diagnoses had been previously established, the patient’s

   symptoms were stable or improving, and no significant changes were made to the treatment plan

   or the patient’s medications. Labs were not ordered or reviewed, so the data component was




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   “minimal or none.” And, the risk of complications or morbidity was “minimal.” So the type of

   MDM was “straightforward.”

          189.    Utilizing the grid established by the 1995 and 1997 CMS E/M guidelines and the

   Colorado 2017 and July 2020 USCSM regulations, which requires that two of the three elements

   be met, Patient 10’s services only qualified for use of the 99212 code:

                                                                   Medical Decision
          Code               History               Exam                                  Time
                                                                      Making
     99212- Estb.
                        Problem focused      Problem focused       Straightforward       10 min
    Patient Level 2
     99213- Estb.          Expanded          Expanded problem
                                                                    Low complexity       15 min
    Patient Level 3     problem focused          focused
     99214- Estb.                                                       Moderate
                             Detailed             Detailed                               25 min
    Patient Level 4                                                    complexity
     99215- Estb.
                         Comprehensive        Comprehensive         High complexity       40 min
    Patient Level 5


          190.    These ten patient examples are not exclusive. Additional patient examples exist,

   and the documentation with respect to more are in the possession of the Defendants and will be

   obtained through discovery.

          C. Conclusions:

          191.    The Defendants’ actions were clearly “knowingly false.” A diligent

   understanding of the applicable regulations and billing requirements of the GHPs would have led

   any reasonable person to understand that the bills MHP submitted to the GHPs were false.

          192.    Moreover, the manner in which Chism hired uneducated, inexperienced and

   poorly trained individuals to code and audit these bills, and how Chism made those individuals

   dependent on his incorrect instructions for billing demonstrates that Chism’s and MHP’s actions

   were made with actual knowledge of their falsity, were submitted with deliberate ignorance of




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   the truth or falsity of their accuracy and/or were submitted in reckless disregard of the truth or

   falsity of the information. 31 U.S.C. § 3729(b)(1)(B).

          193.    In addition, the manner in which the Defendants pressured their nurse

   practitioners to falsely prescribed unnecessary controlled substances and then require the patients

   to be seen at MHP more frequently than necessary demonstrates that the Defendants’ actions

   were made with actual knowledge of their falsity, were submitted with deliberate ignorance of

   the truth or falsity of their accuracy and/or were submitted in reckless disregard of the truth or

   falsity of the information. 31 U.S.C. § 3729(b)(1)(B).

          194.    The Defendants were also placed on notice by multiple employees that they were

   engaging in fraud and were grossly overbilling GHPs. For example, former employee Josh

   Parrish notified MHP’s CFO that MHP was overbilling patients and that this billing practice

   should be stopped.

          195.    And, these false submissions were also “material.” If the responsible individuals

   with authority within the government had been aware of the Defendants’ fraudulent scheme

   underlying the submitted patient bills, the government would not have paid MHP. At a

   minimum, knowledge by the responsible government individuals with authority of the

   Defendants’ false claims would have had a natural tendency to influence, or be capable of

   influencing, the payment or receipt of money or property.




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                              IX. FIRST CLAIM FOR RELIEF
                        FCA LIABILITY, 31 U.S.C. § 3729(a)(1)(A)-(B), (G)

          196.    The Relator incorporates by reference the prior allegations of this Complaint, as

   though more fully set forth herein.

          197.    This is a claim for treble damages and penalties under the False Claims Act, 31

   U.S.C. §§ 3729 – 3733.

          198.    On or about January 1, 2017 and continuing until the present and beyond, the

   Defendants, individually and by and through the entities they own and control, including MHP,

   knowingly presented, or caused to be presented, one or more false or fraudulent claim for

   payment or approval.

          199.    The submission of these false claims was knowingly false as defined by the FCA.

          200.    The submission of these false claims was material as defined by the FCA.

          201.    By virtue of the acts described above, Defendants knowingly presented, or caused

   to be presented, false or fraudulent claims for payment to the United States, in violation of 31

   U.S.C. § 3729(a)(1)(A).

          202.    By virtue of the acts described above, Defendants knowingly made or used, or

   caused to be made or used, false records or statements to get the United States to pay or approve

   false or fraudulent claims, in violation of 31 U.S.C. § 3729(a)(1)(B).

          203.    By virtue of the acts described above, Defendants knowingly concealed or

   knowingly and improperly avoided or decreased an obligation to pay or transmit money or

   property to the government, in violation of 31 U.S.C. § 3729(a)(1)(G) by failing to refund the

   fraudulently obtained federal crop insurance benefits they received.

          204.    Relators cannot now identify all of the false claims for payment that Defendants

   presented or caused to be presented, or the false records or statements Defendants made or used,

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   or caused to be made or used, in support of such claims because Relators do not have access to

   all of the records in Defendants’ or third parties’ possession.

          205.    The United States, unaware of the falsity of the records, statements, and claims

   that Defendants made or caused to be made, paid and continues to pay claims that would not be

   paid but for Defendants’ illegal conduct.

          206.    The United States, unaware that Defendants were knowingly concealing and/or

   knowingly seeking to avoid or decrease their obligation to pay or transmit money or property to

   the government, did not collect from Defendants monies that it would have collected but for

   Defendants’ unlawful conduct.

          207.    Defendants have damaged, and continue to damage, the United States in a

   substantial amount to be determined at trial.

          208.    Additionally, the United States is entitled to the maximum penalty under 31

   U.S.C. §3729, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990, for

   each and every violation alleged herein.



     X.     SECOND CLAIM FOR RELIEF – COLORADO MEDICAID FALSE CLAIMS
                        ACT C.R.S. § 25.5-4-305(1)(a)-(b), (f)

          209.    The Relator incorporates by reference the prior allegations of this Complaint, as

   though more fully set forth herein.

          210.    This is a claim for treble damages and penalties under the Colorado Medicaid

   False Claims Act, Colo. Rev. Stat. 25.5-4-303.5 – 25.5-4-310.

          211.    By virtue of the acts described above, Defendants knowingly presented, or caused

   to be presented, false or fraudulent claims for payment to the State of Colorado, in violation of

   Colo. Rev. Stat. 25.5-4-305(1)(a).

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          212.    By virtue of the acts described above, Defendants knowingly made or used, or

   caused to be made or used, false records or statements material to false or fraudulent claims in

   violation of Colo. Rev. Stat. 25.5-4-305(1)(b).

          213.    By virtue of the acts described above, Defendants knowingly made, used, or

   caused to be made or used, false records or statements material to an obligation to pay or

   transmit money or property to the state or knowingly concealed or knowingly and improperly

   avoided or decreased an obligation to pay or transmit money or property to the state in

   connection with the Colorado Medical Assistance Act, in violation of Colo. Rev. Stat. 25.5-4-

   305(1)(f).

          214.    Relators cannot now identify all of the false claims for payment that Defendants

   presented or caused to be presented, or the false records or statements Defendants made or used,

   or caused to be made or used, in support of such claims because Relators do not have access to

   all of records in Defendants’ or third parties’ possession.

          215.    The State of Colorado, unaware of the falsity of the records, statements, and

   claims that Defendant made or caused to be made, paid and continues to pay claims that would

   not be paid but for Defendant’s illegal conduct.

          216.    The State of Colorado, unaware that Defendants were knowingly concealing

   and/or knowingly seeking to avoid or decrease their obligation to pay or transmit money or

   property to the state in connection with the Colorado Medical Assistance Act, did not collect

   from the Defendants monies that it would have collected but for Defendants’ illegal conduct.

          217.    Defendants have damaged, and continue to damage, the State of Colorado in a

   substantial amount to be determined at trial.

          218.    Additionally, pursuant to Colo. Rev. Stat. 25.5-4-305(1), the State of Colorado is



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   entitled to the maximum penalty under the Colorado Medicaid Statute, as adjusted, for each and

   every violation alleged herein.



     XI.     THIRD CLAIM FOR RELIEF – TEXAS MEDICAID FRAUD PREVENTION
                         ACT TEX. HUM.RES.CODE § 36.002

           219.   The Relator incorporates by reference the prior allegations of this Complaint, as

   though more fully set forth herein.

           220.   This is a claim for treble damages and penalties under the Texas Medicaid Fraud

   Prevention Act, Tex. Hum. Res. Code § 36.001, et. seq.

           221.   By virtue of the acts described above, Defendants knowingly presented, or caused

   to be presented, false or fraudulent claims for payment to the State of Texas, in violation of Tex.

   Hum. Res. Code § 36.002.

           222.   By virtue of the acts described above, Defendants knowingly made, or caused to

   be made, a false statement or misrepresentation of a material fact to permit a person to receive a

   benefit or payment under the Medicaid program that is not authorized or that is greater than the

   benefit or payment that is authorized in violation of Tex. Hum. Res. Code § 36.002(1).

           223.   By virtue of the acts described above, Defendants knowingly concealed or failed

   to disclose information that permits a person to receive a benefit or payment under the Medicaid

   program that is not authorized or that is greater than the benefit or payment that is authorized, in

   violation of Tex. Hum. Res. Code § 36.002(2).

           224.   By virtue of the acts described above, Defendants knowingly made, used, or

   caused the making or use of a false record or statement material to an obligation to pay or

   transmit money or property to this state under the Medicaid program, or knowingly concealed or

   knowingly and improperly avoided or decreased an obligation to pay or transmit money or

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   property to the state of Texas under the Medicaid program in violation of Tex. Hum. Res. Code §

   36.002(12).

          225.    Relators cannot now identify all of the false claims for payment that Defendants

   presented or caused to be presented, or the false records or statements Defendants made or used,

   or caused to be made or used, in support of such claims because Relators do not have access to

   all of records in Defendants’ or third parties’ possession.

          226.    The State of Texas, unaware of the falsity of the records, statements, and claims

   that Defendant made or caused to be made, paid and continues to pay claims that would not have

   been paid but for Defendant’s illegal conduct.

          227.    The State of Texas, unaware that Defendants were knowingly concealing and/or

   knowingly seeking to avoid or decrease their obligation to pay or transmit money or property to

   the state, did not collect from the Defendants monies that it would have collected but for

   Defendants’ illegal conduct.

          228.    Defendants have damaged, and continue to damage, the State of Texas in a

   substantial amount to be determined at trial.

          229.    Additionally, pursuant to Tex. Hum. Res. Code § 36.052 and § 36.102, the State

   of Texas is entitled to the maximum penalty under the Texas Medicaid Fraud Prevention Act, as

   adjusted, for each and every violation alleged herein.




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                                    XII.   PRAYER FOR RELIEF

          WHEREFORE, the Relator, Krystin Butler, on behalf of the United States, the State of

   Colorado and the State of Texas requests: (a) that the United States Government, , the State of

   Colorado and the State of Texas recover from the Defendants all sums which they improvidently

   paid as a result of the Defendants’ actions, including interest thereon; (b) that the damages

   described in (a) be trebled as provided in 31 U.S.C. § 3729(a); (c) that the maximum civil

   penalty be assessed against the Defendants for each false claim, record or statement submitted

   directly or indirectly to the Government as a result of its wrongful actions; (d) that the Court

   award the Relator all amounts as are permitted under 31 U.S.C. § 3730(d) and the similar false

   claims acts of the State of Colorado and the State of Texas, including an appropriate share of any

   sums recovered and benefits obtained in this action, now or in the future, along with the

   Relator’s reasonable expenses, attorney fees, and costs incurred herein; and (e) that the Court

   grant any additional appropriate relief with respect to this qui tam action.

       THE RELATOR DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE

          Respectfully submitted this Monday, February 08, 2021.

                                                 THE LAW FIRM OF MICHAEL S. PORTER LLC

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